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A. I did.

©. But the time had passed to appeal it?
A. No.

Gs But you didn't appeal it, correct?

MR. CHANCEY: Off the record.

(Off the record.)

Q. (By Mr. Knight) So other than you've not
appealed, you filed a Rule 60 motion. Is that correct?

A. I don't know the legal terms.

Oy Neither do I. You said that you've never
been arrested, correct?

A. Yes.

Q. Have you ever had a speeding ticket,

traffic ticket, anything like that?

A. A speeding ticket, yes.
0. Any other citations?
A. I was on misdemeanor probation out of

Athens when I first moved to Decatur for skip scanning at

Walmart.
Q. Which Walmart?
A. Athens.
OQ. The one you went to work for?
A. Yeo. > DT paid ny =-
Q. How long was your probation?
A. Untill “paid it oft.

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Q.

A.

70
Did you have to appear in court?

[wappeaned “one time” In“ court) [don't

really remember what happened and they told me to go sign

up for probation,
Ole

A.

Q.

A.

so I did.
Which court did you appear in?
McMinn County.
Sessions in McMinn County?
Yes.
How much was the value of the items?

Leadon t= ktiow thats’ “What 1 Was oie =f had

five pairs of shorts different colors and I scanned one

pair, like one color for all five ones five different

times. And that is counting as skip scanning, so --

because it throws their inventory off.

Q.

for that?

A.

Q.

Are you saying you were given a citation

Yes.
By whom?
Walmart.

Was there a law enforcement officer of

McMinn County involved?

A.

Q.

A.

Q.

Net that I -knew, no.
Were you taken to jail at all?
No.

You were given a citation to show up to

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COUrT.

A.

Q.

Citation were shorts?

A.

Q.

officer?

A.

QO.

Tes).

Yes.
And you pled
Lia vess

No.

And

probation officer?

A.

two weeks.

paid. it: off.

Q.

A.

Q.

A.

Yes,

So the items

long was

not sure.

you have

you have

how many

71

And you did show up to court.

guilty.

that were the subject of the

your probation?

to visit with a probation

to be drug tested at all?

times did you visit with a

Once it was either every week or every

I think I was on for about two months until I

No.

Yes.

So you had to pay it back?

And you don't know how much?

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A. I found that the dot head weed works
better. I hate -- I know that that's --

Q. By dot head do you mean somebody from
India?

A. Yeah. It's just what you call on the

street, I guess, what you get from gas stations.

Os From gas stations.
A. Dispensaries and things.
Q. So you think that works better than the

illegal marijuana?

A. Yes, because I know what I'm getting.

Os But you still have some questions that
maybe even that stuff could be laced with fentanyl.

A. I mean, you never know what you're
ingesting.

QO. You told me earlier that you used
amphetamines before. Are you talking about

methamphetamines?

A. Yes.

OG: Tllegal methamphetamines?

A. Yes.

Q. And did you use those via IV, snort, or

smoke the methamphetamines?
Aa Never ITV.

O; Snort or smoke or both?

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A. Both.

Ox How long had you been doing that?

A. It was right after I -- so 2018, 2019.
Q. And then when did you quit using that to

the best of your recollection?

A. I had a party phase and quickly found out,
Hey, this is not my route to go.

Q. So you said you and Mr. Kelsey, you pretty
much do everything together. You were living together in

May of 2023. Is that correct?

A. Yes.

Q. At this apartment down here on 58?

A. Yes. The Old Robinson's Roost.

Q. I‘m sorry?

A. The old Robinson's Roost right in front

of the co-op.
0. Okay, all right. So those are like a --

kind of looks like a hotel; there are apartments lined up

together?
A. Yes. It actually was an old hotel.
Oi. It was an old hotel.
A. Uh-huh.
Oi Those apartments, are they one bedroom,

two bedroom? Are they studio type apartments?

A. It's one bedroom. Our apartment was a two

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